

People v Ahmed (2022 NY Slip Op 03977)





People v Ahmed


2022 NY Slip Op 03977


Decided on June 16, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 16, 2022

Before: Acosta, P.J., Kapnick, Friedman, Mendez, Higgitt, JJ. 


Ind No. 1132/16 Appeal No. 16141 Case No. 2018-4541 

[*1]The People of the State of New York, Respondent,
vOmar Ahmed, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Harold V. Ferguson, Jr. of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Christopher Michael Pederson of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Robert A. Neary, J.), rendered April 4, 2018, convicting defendant, upon his plea of guilty, of assault in the second degree, and sentencing him to a term of two years, unanimously modified, on the law, to the extent of vacating the sentence and remanding the matter for resentencing, including a youthful offender determination, and otherwise affirmed.
As the People concede, defendant is entitled to an express youthful offender determination pursuant to People v Rudolph (21 NY3d 497 [2013]). Because we are ordering a resentencing, we decline to reach the issue of defendant's request for waiver of surcharges and fees pursuant to CPL 420.35(2-a). This issue should be addressed at the resentencing proceeding (see People v Lugo, 194 AD3d 495 [1st Dept 2021]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 16, 2022








